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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 ROBERT EARL COLTNCIL                     AKA )
 KINETIK JUSTICE, er a/.,                       )
                                                )
         Plaintffi,                             )
                                                )     Case No. 2:23 -CY -007 12-CLM-JTA
                                                )
                                                )
 KAY IVEY, e, a/.,                              )
                                                )
         Defendanls.                            )

                               CERTTFTCATTON OF          R-ECORpS
                                                                                                ]



       My name is Angie Baggett. I am over the age of twenty-one (21 ). I have be.n .*ployl ed in

the Classification Division of the Alabama Department of Corrections (ADOC) for twenty-four

(24) years. I am currently serving as the Classification Director.

       I, Angie Baggeft, hereby certifr and alfirm that I am the custodian of records for the

Classification Division ofADOC and that the attached records are true and correct photocopies of

documents maintained in the file at the ADOC, Central Office, located at 301 South Ripley Streel,

Montgomery, Alabama 36 I 30.

       I do hereby certifu and affirm on this Juuary 16,2024.



                                                      Ang te         ru, cl   sifi     rector

SI'ATE OF ALABAMA                     )
MONTGOMERY COTJNTY                    )

       SWORN AND SUBSCRIBBD before                       gr     under my hand and olficial seal on
this January 16,2024.


                                                      Notarv Pu c
          RESHANDA BROWN
           NOTABY PUBLIC
                                                      My Commi ion fixpires          rr \zt\rr,
       ALABAMA STATE AT LAHGE
            coMM. EXP.06121126
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